        Case 3:23-cv-04597-EMC Document 43 Filed 01/19/24 Page 1 of 3



 1   (Additional counsel on following page)
 2   JESSICA R. PERRY (SBN 209321)
     jperry@orrick.com
 3   MELINDA S. RIECHERT (SBN 65504)
     mriechert@orrick.com
 4   ORRICK, HERRINGTON & SUTCLIFFE LLP
     1000 Marsh Road
 5   Menlo Park, CA 94025-1015
     Telephone:    +1 650 614 7400
 6   Facsimile:    +1 650 614 7401
 7   KATHRYN G. MANTOAN (SBN 239649)
     kmantoan@orrick.com
 8   ORRICK, HERRINGTON & SUTCLIFFE LLP
     The Orrick Building
 9   405 Howard Street
     San Francisco, CA 94105-2669
10   Telephone:    +1 415 773 5700
     Facsimile:    +1 415 773 5759
11
     Attorneys for Defendant
12   Apple Inc.
13
                                    UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15
                                       SAN FRANCISCO DIVISION
16

17
     ASHLEY GJOVIK,                                 Case No. 23-cv-4597-EMC
18
                       Plaintiff,                   DEFENDANT APPLE INC.’S
19                                                  RESPONSE TO PLAINTIFF’S
              v.                                    REQUEST FOR JUDICIAL NOTICE
20                                                  [DKT. NOS. 35, 37]
     APPLE INC.,
21                                                  Dept:    Courtroom 5, 17th Floor
                       Defendant.                   Judge:   Honorable Edward M. Chen
22                                                  Date:    February 15, 2024
                                                    Time:    1:30 p.m.
23

24

25

26

27

28

                                                                APPLE INC.’S RESPONSE TO RJN
     4134-6114-3118                                                    CASE NO. 23-CV-4597-EC
        Case 3:23-cv-04597-EMC Document 43 Filed 01/19/24 Page 2 of 3



 1   KATE E. JUVINALL (SBN 315659)
     kjuvinall@orrick.com
 2   ORRICK, HERRINGTON & SUTCLIFFE LLP
     631 Wilshire Blvd., Suite 2-C
 3   Santa Monica, CA 90401
     Telephone:    +1 310 633 2800
 4   Facsimile:    +1 310 633 2849

 5   RYAN D. BOOMS (SBN 329430)
     rbooms@orrick.com
 6   ORRICK, HERRINGTON & SUTCLIFFE LLP
     1152 15th Street, N.W.
 7   Washington, D.C. 20005-1706
     Telephone:    +1 202 339 8400
 8   Facsimile:    +1 202 339 8500

 9   Attorneys for Defendant
     Apple Inc.
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                          APPLE INC.’S RESPONSE TO RJN
     4134-6114-3118                                              CASE NO. 23-CV-4597-EC
        Case 3:23-cv-04597-EMC Document 43 Filed 01/19/24 Page 3 of 3



 1            Plaintiff’s Requests for Judicial Notice (Dkt. Nos. 35, 37) are moot and do not require a

 2   substantive response from Apple Inc. Plaintiff submitted both Requests in support of her Opposition

 3   (Dkt. No. 33) to Apple’s Motion to Dismiss Plaintiff’s First Amended Complaint (Dkt. 30). On

 4   December 27, 2023, Apple withdrew its Motion without prejudice because Plaintiff filed a Second

 5   Amended Complaint on December 21, 2023 (Dkt. No. 32). Thus, Plaintiff’s Opposition and

 6   Requests for Judicial Notice are no longer at issue.

 7            Apple respectfully requests that the Court take the February 15, 2024 hearing off calendar.

 8

 9   Dated: January 19, 2023                               By:
10                                                                       JESSICA R. PERRY
                                                                  Attorneys for Defendant, Apple Inc.
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                          APPLE INC.’S RESPONSE TO RJN
                                                       1
     4134-6114-3118                                                              CASE NO. 23-CV-4597-EC
